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 6 FLIGHTBLITZ, INC. and DAVID KAYE
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 8
                      UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 FLIGHTBLITZ, INC., et al.,                  Case No. 2:21-cv-02116-CBM-KES
12                                             DECLARATION OF DAVID
                 Plaintiffs,                   KAYE IN SUPPORT OF
13                                             PLAINTIFFS’ MOTION TO
        v.                                     AMEND SCHEDULING ORDER
14                                             PURSUANT TO FED. R. CIV. P.
      TZELL TRAVEL, LLC, et al.,               16(b)
15
16               Defendants.
17                                             Hearing Date:   March 25, 2025
                                               Time:           10:00 a.m.
18                                             Courtroom:      8D
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                                               Judge: Hon. Consuelo B. Marshall
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                               DECLARATION OF DAVID KAYE
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 1                         DECLARATION OF DAVID KAYE
 2         I, David Kaye, declare as follows:
 3         1.    I am over the age of 18 years. I am a Plaintiff in this action, and the
 4 principal of Plaintiff FlightBlitz, Inc. (“FlightBlitz”). This declaration is submitted
 5 in support of Plaintiffs’ motion to amend scheduling order pursuant to Fed. R. Civ.
 6 P. 16(b). The following facts are within my personal knowledge, except where
 7 otherwise indicated upon information and belief, and if called as a witness herein, I
 8 can and will competently testify hereto.
 9       2.     FlightBlitz and I have diligently litigated our claims against

10 Defendants for years, including a successful appeal to the Ninth Circuit.
11      3.     After our former counsel, Levi Lesches, appeared at the scheduling

12 conference in this action, he informed me that trial was scheduled in September
13 2025. However, Mr. Lesches never sent me a copy of the Court’s scheduling order,
14 dated May 15, 2024, (“Scheduling Order”). He also never informed me of the dates
15 pertaining to discovery. I was therefore not aware of the Scheduling Order and its
16 deadlines.
17       4.      Prior to this action, I only had experience with state court procedures,

18 so I was not aware that discovery deadlines could expire so far in advance of trial.
          5.    Mr. Lesches informed me in or about August 2024 that FlightBlitz
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   and I would need to secure new counsel.
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          6.    I was subsequently engaged for months in the process to obtain new
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   counsel.
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          7.    The task of finding new representation was complicated by the scope
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   of work, as FlightBlitz and I require an attorney competent to represent us in
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   federal and state litigation, as well as arbitration.
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          8.    The law firm that I anticipated retaining ultimately declined to assume
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   the representation. Such circumstances, and similar matters, delayed the process of
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   substituting counsel.
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                                 DECLARATION OF DAVID KAYE
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 1         9.    While I was pursuing new representation, I was not aware that Mr.
 2 Lesches was not effectively prosecuting our case.
 3      10. Mr. Lesches did not inform me of deposition notices in this action.
 4         11.   Mr. Lesches failed to file a request to modify the Scheduling Order
 5 when it became apparent that he could not litigate the case, and FlightBlitz and I
 6 had not yet found new counsel.
 7         12.   Mr. Lesches never informed me of imminent deadlines in this action,

 8 including the close of fact discovery and expert witness disclosures.
 9       13. FlightBlitz and I were effectively left without counsel.

10         14.   Despite the fact that FlightBlitz and I had already begun the process of

11 engaging an expert in March 2024, Mr. Lesches failed to designate and disclose an
12 expert prior to the cutoff date in January 2025.
13         15.   I was surprised to learn that critical dates in the Scheduling Order had

14 expired without action by my counsel of record.
15       16. FlightBlitz and I have obtained new counsel, Law Office of Aryeh

16 Kaufman, who is prepared to litigate the matter through trial.
17      I declare under penalty of perjury under the laws of the United States of

18 America that the foregoing is true and correct.
        Executed February 21, 2025, at Los Angeles County, California.
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                                           By: _____________________
22                                               David Kaye, declarant
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                                DECLARATION OF DAVID KAYE
